Case 4:20-cv-06825-DMR Document 1-6 Filed 09/30/20 Page 1 of 3




            EXHIBIT E
          Case 4:20-cv-06825-DMR Document 1-6 Filed 09/30/20 Page 2 of 3



                                               NATIONAL COMPLIANCE SERATCES
                                                               Burl Business Center
                                                           13200 Central Avenue, Suite 1
                                                       Boulder Creek, California 95006
                                 Servicing Pension, Training & Education, Health & Welfare Trust Funds Since 1977




VIA EMAIL AND CERTIFIED MAIL

February 4, 2019


Anita Teh
MERCHANTS BUILDING MAINTENANCE
1190 Monterey Pass Road
Monterey Park, CA 91754


RE: GENERAL EMPLOYEES TRUST FUND - FINAL AUDIT REPORT -
       EMPLOYER NO's: 106537, 107787, 111291, 111521, 111896, 113158, 113159, 113820

Dear Ms. Teh:

In compliance with the terms of your SEIU-USWW and SEIU Local 87 Collective Bargaining Agreement
and the Trust Fund Trust Agreement, we submit the following final audit report. The employer payroll
records did not agree with the monthly health and welfare contribution transmittals. Enclosed you will find
a copy of our Discrepancy Lists and Summary Report.

In accordance with the General Employees Trust Fund Reporting Policy, we included interest as prescribed
by the Trust Fund Trust Indenture1. We also included liquidated damages of 10%.2 Our examination of
your payroll records for the period of January through December 2014 and January through December
2016 disclosed a reporting error rate of greater than 10%, therefore, we have included our audit fee.'1

Over Reported Contributions:
With regards to benefit payments paid on behalf of ineligible employees, Kaiser Contributions are not
considered for credit.
For your information, $80,432.91 was remitted on behalf of employees enrolled in Kaiser and $104,773.47
was remitted on behalf of un-enrolled participants.
Please be aware that there are certain non-recoverable costs paid out to the carriers that will be deducted
from any potential credit if approved by the Board of Trustees. If you would like the Board of Trustees to



1 Section 8.13(c) of the Trust Indenture effective February 1, 1973 and restated September 1, 2010 states: If such audit discloses any deficiency in
Contributions and/or other monies owed to the Trust Fund, the Employer shall immediately pay to the Trust Fund the amount found due, plus liquidated
damages and interest at the rates set forth above in this Article VIII (simple interest thereon at the greater of (i) seven percent (7%) per annum, or (ii) the
rate prescribed by Section 6621(a)(2) of the Internal Revenue Code).

2 Section 8.06(a) Therefore, it is agreed that the amount of damage to the Trust Fund resulting from any such failure shall be presumed to be (i) $200, if
the Contributions or other monies are received by the Trust Fund within two business days of the date on which such monies were due and unpaid, or ten
percent (10%) of the Contributions or other monies, if such monies are not received by the Trust Fund within two business days of the date on which they
were due and unpaid.

3 Section 8.13(c) The entire cost of such audit shall be paid by the Trust Fund, except that if the amount found due by the audit is ten percent (10%) or
more of the Contributions which should have been made, the costs of such audit shall be paid by the Employer.




                           Telephone: 831-338-2023 & 831-338-2232 • e-mail: bvaldivia@ncs-usa.com
       Case 4:20-cv-06825-DMR Document 1-6 Filed 09/30/20 Page 3 of 3



review your request for credit for contributions remitted on behalf of un-enrolled participants, we would
appreciate it if you would forward your written request directly to the Trust Fund Collection Administrator.

         Mr. Bill Quinteros
         NORTHWEST ADMINISTRATORS
         1000 Marina Blvd., Suite 400
         Brisbane, CA 94005


Under Reported Contributions:
We would appreciate your cooperation by remitting your payment within one week for $333,280.98 along
with a copy of this letter to the following address:

         General Employees Trust Fund
         c/o Bill Quinteros, Collection Administrator
         1000 Marina Blvd., Suite 400
         Brisbane, CA 94005

In the event the Trust Fund Administrator does not receive your payment within one week, the Collections
Administrator will proceed to collect the amount due the Trust Fund. If this action is necessary, you will be
responsible for the collection cost.

We take this opportunity to express our appreciation to you and your staff for the courtesies and
cooperation extended to us during the examination. Please feel free to call our office at 831-338-2023 if
you have any questions concerning our report.


Sincerely,




Brian Valdivia, Compliance Auditor
NATIONAL COMPLIANCE SERVICES


Enclosures ( 25 )

cc: Bill Quinteros, Northwest Administrators
    Celeste Furlough, Northwest Administrators
    Tony Ah-Hing, Northwest Administrators
    Blair Fowler, Northwest Administrators
    Christina Mcdonagh, Northwest Administrators
    Stacie Doran, Northwest Administrators
    Shanna Saldivar, Northwest Administrators
    Tyler Gronsky, Northwest Administrators
    Mark Sharwood, SEIU-USWW
    Denise Solis, SEIU-USWW
    David Huerta, SEIU-USWW
    Olga Miranda, SEIU Local 87
